GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
     DEBTOR, STREAM TV NETWORKS, INC., CASE NO. 21-10433(KBO)



        The Debtor develops its technology and conducts the majority of its business through its
direct and indirect foreign and domestic subsidiaries. The Debtor provided capital to its direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtor directs interested parties to the Declaration of
Mathu Rajan in Support of First Day Motions [Docket No. 51] in which the Debtor’s
organizational and operational structure is described in greater detail.

        In its bankruptcy schedules, the Debtor discloses and describes the assets, including its
ownership interest in direct subsidiaries and its contracts, that the Debtor owned or may have
owned as of February 24, 2021 (the “Petition Date”). The Debtor’s direct subsidiaries, in turn,
hold or may hold ownership interests in the Debtor’s indirect subsidiaries as depicted on the
Debtor’s Organization Chart included in Mr. Rajan’s Declaration. The assets of the Debtor’s
direct and indirect subsidiaries are not included in the Debtor’s bankruptcy schedules.

        It is important to note that, pursuant to an Omnibus Agreement, dated May 6, 2020,
between the Debtor’s senior secured lender, SLS Holdings VI, LLC (“SLS”) and a debt-
resolution committee of the Debtor’s Board of Directors purporting to act on the Debtor’s behalf,
which agreement is presently subject to litigation in the Chancery Court in Delaware, SLS
Holdings and its newly formed company, SeeCubic, Inc. (“SeeCubic”), assert an ownership
interest in all of the Debtor’s assets. SLS and SeeCubic possess some and claim to have obtained
possession or control of other of the Debtor’s assets shortly before the Petition Date. The
Debtor’s investigation into these claims is ongoing. Accordingly, at this time, the Debtor’s
present ownership of some of its assets may not be clear. The Debtor has listed the assets that it
believes it continues to own, unless otherwise expressly indicated in its bankruptcy schedules.
The Debtor intends to pursue recovery of assets and to operate its business under the provisions
of the Bankruptcy Code in this case.

Additional Notes:

       1.      Because US GAAP treatment may not apply to the Debtor’s assets located in
foreign jurisdictions, the values provided for certain assets may differ from typical accounting
standards.

        2.      Funding advanced by the Debtor to its direct and indirect subsidiaries are
reflected in intercompany loans.

      3.      The Debtor’s goodwill and similar intangible value is not reflected in the Debtor’s
bankruptcy schedules.

      4.       SeeCubic BV (the Netherlands) is a subsidiary of the Debtor, Stream TV
Networks, Inc. SeeCubic BV (the Netherlands) is unrelated to and is a separated entity from
SeeCubic Inc., a company newly formed in Delaware by SLS Holdings VI, LLC.



122187598_1
 Fill in this information to identify the case:

 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)         21-10433 (KBO)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                          $0.00
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $114,800.00
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                                  $5,837.68
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached List                                                                                   $0.00              Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other Court order



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Mathu Rajan                                                 11/19/2020                         $4,000.00          Repayment of loan
               1105 William Penn Drive
               Bensalem, PA 19020
               CEO and Director

       4.2.    Shadron Stastney                                            2/2020 -                        $231,487.76           Expenses, back pay, and net
                                                                           $50,000 for                                           payroll after separation.
               Former Vice Chairman of Board and                           expenses
               CFO                                                         2/2020-
                                                                           $152,500 for
                                                                           back pay
                                                                           2/21/2020 -
                                                                           $14,493.88
                                                                           net payroll
                                                                           after
                                                                           separation
                                                                           3/6/2020 -
                                                                           $14,493.88
                                                                           new payroll
                                                                           after
                                                                           separation

       4.3.    SLS Holdings VI, LLC                                        May 2020                           Unknown            Omnibus Agreement/Court
               Attn: Shad Stastney                                                                                               Order
               392 Taylor Mills Road
               Marlboro, NJ 07746

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                 Value of property

       SeeCubic, Inc.                                            Transfer of funds and potentially other                       December                   $11,302.46
                                                                 assets. Disputed by debtor and subject to                     2020
                                                                 pending litigation in Delaware.


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

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 Debtor       Stream TV Networks, Inc.                                                                  Case number (if known) 21-10433 (KBO)



           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    SLS Holdings VI, LLC v.                           Civil                     Superior Court of the State                   Pending
               Stream TV Networks, Inc.,                                                   of Delaware                                   On appeal
               Technovative Media, Inc.,                                                   New Castle County                             Concluded
               Technology Holdings                                                         Courthouse
               Delaware, LLC, and Media                                                    500 N. King Street
               Holdings Delaware, LLC                                                      Wilmington, DE 19801
               N20C-03-225 MMJ CCLD

       7.2.    Stream TV Networks Inc. v.                        Civil Actions             Court of Chancery                             Pending
               Seecubic Inc.                                                               New Castle County                             On appeal
               2020-0766-JTL                                                               Courthouse                                    Concluded
                                                                                           Wilmington, DE 19801

       7.3.    Rembrandt 3D Holding Ltd v.                       Breach of                 United States District                        Pending
               Stream TV Network, Inc., et al.                   Agreement                 Court-SDNY                                    On appeal
               17-CV-882 (RA)                                                                                                            Concluded

       7.4.    Global Tax Management Inc.                        Filed 2/12/2021;          Pa. Comm. Pleas Ct.                           Pending
               vs. Stream TV Networks Inc.                       Unpaid Vendor                                                           On appeal
               Docket No. 210200945                              Action                                                                  Concluded
                                                                 Case was filed
                                                                 two weeks prior to
                                                                 the bankruptcy
                                                                 filing. The Debtor
                                                                 was unaware of
                                                                 the action and has
                                                                 no other
                                                                 knowledge with
                                                                 regard thereto.

       7.5.    Arasan Chip Systems, Inc. v.                      Unpaid Vendor             Northern District of                          Pending
               Stream TV Networks, Inc.                          Action.                   California                                    On appeal
               Docket No. 5:20-cv-01848                                                                                                  Concluded

       7.6.    Matrex Exhibits, Inc. v.                          Unpaid Vendor             Illinois Circuit Court                        Pending
               Stream TV Networks, Inc.                          Action. The                                                             On appeal
               2020 L 000714                                     Debtor was                                                              Concluded
                                                                 unaware of the
                                                                 action and has no
                                                                 other knowledge
                                                                 with regard
                                                                 thereto.




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               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.7.    Mukati v. Doe                                     Trademark                    Northern District California                Pending
               4:17-cv-07093                                     Infringement. The                                                        On appeal
                                                                 case was filed in                                                        Concluded
                                                                 December of 2017
                                                                 and appears to be
                                                                 a troll against
                                                                 entities in the
                                                                 gaming segment.
                                                                 The debtor was
                                                                 unaware of the
                                                                 action and has no
                                                                 other knowledge
                                                                 with regard
                                                                 thereto other than
                                                                 it discovered that
                                                                 a ruling has been
                                                                 published.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                                Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                Dates of loss                Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address




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 Debtor        Stream TV Networks, Inc.                                                                 Case number (if known) 21-10433 (KBO)



                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Dilworth Paxson LLP
                1500 Market Street, Suite
                3500E
                Philadelphia, PA 19102                                                                                         1/28/2020            $50,000.00

                Email or website address


                Who made the payment, if not debtor?
                Philip & Betsy Darivoff


       11.2.    Dilworth Paxson LLP
                1500 Market Street, Suite
                3500E
                Philadelphia, PA 19102                                                                                         1/20/2021            $25,000.00

                Email or website address


                Who made the payment, if not debtor?
                MarJonJac LLC at the direction of
                Visual Technologies Inc.


       11.3.    Dilworth Paxson LLP
                1500 Market Street, Suite
                3500E
                Philadelphia, PA 19102                                                                                         2/9/2021             $25,000.00

                Email or website address


                Who made the payment, if not debtor?
                MediaTainment Inc.


       11.4.    Dilworth Paxson LLP
                1500 Market Street, Suite
                3500E
                Philadelphia, PA 19102                                                                                         2/19/2021            $25,000.00

                Email or website address


                Who made the payment, if not debtor?
                Visual Technologies Inc.




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                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.5.     Dilworth Paxson LLP
                 1500 Market Street, Suite
                 3500E
                 Philadelphia, PA 19102                              For postpetition retainer                                 2/22/2021             $25,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 MFSav LLC at the direction of Visual
                 Technologies Inc.


       11.6.     Dilworth Paxson LLP
                 1500 Market Street, Suite
                 3500E
                 Philadelphia, PA 19102                              For postpetition retainer                                 2/23/2021             $50,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Visual Technologies Inc.


       11.7.     Dilworth Paxson LLP
                 1500 Market Street, Suite
                 3500E
                 Philadelphia, PA 19102                              For postpetition retainer                                 3/9/2021            $100,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Visual Technologies Inc.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers            Total amount or
                                                                                                                      were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer           Total amount or
                Address                                          payments received or debts paid in exchange             was made                         value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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 Debtor        Stream TV Networks, Inc.                                                                 Case number (if known) 21-10433 (KBO)




           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    1133 Auburn Street
                Fremont, CA 94538

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred
       18.1.    HSBC Bank                                        XXXX-9207                   Checking                 12/21/2020                       $8,420.68
                                                                                             Savings                  Transferred to
                                                                                             Money Market             Seecubic Inc.
                                                                                             Brokerage
                                                                                             Other

       18.2.    HSBC Bank                                        XXXX-9215                   Checking                 12/15/2020                       $1,002.67
                                                                                             Savings                  Transferred to
                                                                                             Money Market             SeeCubic, Inc.
                                                                                             Brokerage
                                                                                             Other




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                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.3.    TD Bank                                          XXXX-8682                   Checking                 Closed                             $329.11
                                                                                             Savings                  12/16/2020
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.4.    HSBC Bank                                        XXXX-3004                   Checking                 Closed October                        $0.00
                                                                                             Savings                  2020
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.5.    TD Bank                                          XXXX-4394                   Checking                 Closed                          $1,550.00
                                                                                             Savings                  12/16/2020
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents           Do you still
                                                                     access to it                                                               have it?
       U-Haul                                                        SeeCubic, Inc. presently             To the best of the Debtor's              No
       201 US Highway 130 S.                                         has control of the storage           knowledge, the contents were             Yes
       Riverton, NJ 08077                                            facility.                            display models and other
                                                                                                          electrical products, and
                                                                                                          remain within the unit.

       Big Yellow Box                                                SeeCubic, Inc. presently             To the best of the Debtor's              No
       577-593 London Road                                           has control of the storage           knowledge, the contents were             Yes
       Camberley, Surrey GU15 3JQ                                    facility.                            display models and other
       United Kingdom                                                                                     electrical products, and
                                                                                                          remain within the unit.

       U-Haul                                                        SeeCubic, Inc. presently             To the best of the Debtor's              No
       18160 Parthenia Street                                        has control of the storage           knowledge, the contents were             Yes
       Northridge, CA 91325                                          facility.                            display models and other
                                                                                                          electrical products, and
                                                                                                          remain within the unit.



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

             No.
             Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

             No.
             Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

             No.
             Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

            None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Holding Company                                  EIN:
             Technovative Media, Inc.                                                                                       XX-XXXXXXX
             2009 Chestnut Street, 3rd
             Floor                                                                                             From-To      From 2011 to Present
             Philadelphia, PA 19103




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 Debtor      Stream TV Networks, Inc.                                                                   Case number (if known) 21-10433 (KBO)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.2.                                                     Holding Company                                  EIN:
             Technology Holdings                                                                                            File Number 5061735
             Delaware, LLC
             2009 Chestnut Street, 3rd                                                                         From-To      From 2011 to Present
             Floor
             Philadelphia, PA 19103

    25.3.                                                     Holding Company                                  EIN:
             Media Holdings Delaware,                                                                                       File Number 5061759
             LLC
             2009 Chestnut Street, 3rd                                                                         From-To      From 2011 to Present
             Floor
             Philadelphia, PA 19103

    25.4.                                                     Holding Company                                  EIN:
             Ultra-D Ventures C.V.                                                                                          XX-XXXXXXX
             Curacao
                                                                                                               From-To      From 2011 to Present

    25.5.                                                     Holding Company                                  EIN:
             Ultra-D Coopertief U.A.                                                                                        XX-XXXXXXX
             The Netherlands
                                                                                                               From-To      From 2011 to Present

    25.6.                                                     Operating Company                                EIN:
             Stream TV International B.V.                                                                                   XX-XXXXXXX
             The Netherlands
                                                                                                               From-To      From 2011 to Present

    25.7.                                                     Operating Company                                EIN:
             SeeCubic B.V.                                                                                                  XX-XXXXXXX
             The Netherlands
                                                                                                               From-To      From 2011 to Present

    25.8.                                                     Operating Company                                EIN:
             Stream TV International B.V.                                                                                   N/A
             Taiwan Rep Office
             Taiwan                                                                                            From-To      From 2018 to Present

    25.9.                                                     Operating Company                                EIN:
             Stream TV 3D Technology                                                                                        N/A
             (Suzhou) Co., Lt
             China                                                                                             From-To      From 2018 to Present

    25.10                                                     Operating Company                                EIN:
          Shanghai Ruishi Technology                                                                                        N/A
    .
             Co., Ltd.
             China                                                                                             From-To      From 2019 to Present

    25.11                                                     Pursuant to Omnibus Agreement.                   EIN:
          SeeCubic, Inc.
    .                                                         Debtor is entitled to receive shares
                                                              of stock in SeeCubic Inc. which                  From-To
                                                              have not yet been provided to the
                                                              Debtor.

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Mediatainment, Inc.                                                                                                        Bookkeeping and
                    1105 William Penn Drive                                                                                                    Banking Services
                    Bensalem, PA 19020                                                                                                         from 2009-2020

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 10
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 Debtor      Stream TV Networks, Inc.                                                                   Case number (if known) 21-10433 (KBO)




    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Mediatainment Inc.                                                                       N/A
                    1105 William Penn Drive
                    Bensalem, PA 19020

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mathu Rajan                                    1105 William Penn Drive                             CEO and Director                      3.53%
                                                      Bensalem, PA 19020



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Raja Rajan                                     928 McElwee                                         COO and General                   From 2011 to July
                                                      Moorestown, NJ 08057                                Counsel                           2020

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Asaf Gola                                      226 East 70th Street                                Member of Board of                March 2020 to
                                                      Apartment 4E                                        Directors                         May 2020
                                                      New York, NY 10021




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
 Debtor      Stream TV Networks, Inc.                                                                   Case number (if known) 21-10433 (KBO)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Kevin Gollop                                   Les Cent                                            Member of Board of               March 2020 to
                                                      Etoiles, Mont Fallu                                 Directors                        May 2020
                                                      St Peter Jersey, Channel Islands JE3
                                                      7EF
                                                      United Kingdom
       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Krzysztof Kabacinski                           Bentley House                                       Member of Board of               March 2020 to
                                                      22 Bute Gardens                                     Directors                        May 2020
                                                      London, W6 7DR, England
                                                      United Kingdom
       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Shadron Stastney                               392 Taylors Mill Road                               Former Vice Chairman             July 2018-January
                                                      Marlboro, NJ 07746                                  of Board and CFO                 2020


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Mathu Rajan                                                                                                                    Compensation for
       .    1105 William Penn Drive                                                                                      From 2/2020       services
               Bensalem, PA 19020                                $186,440.68                                             to 2/2021         performed (salary)

               Relationship to debtor
               CEO and Director


       30.2                                                                                                                                Compensation for
       .    Raja Rajan                                                                                                                     services
               928 McElwee                                                                                               From 2/2020       performed
               Moorestown, NJ 08057                              $283,515.39                                             to 2/2021         (Salary)

               Relationship to debtor
               COO and General Counsel


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    Stream TV Networks, Inc.                                                                                   EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
 Debtor      Stream TV Networks, Inc.                                                                   Case number (if known) 21-10433 (KBO)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on        April 20, 2021

                                                                        Mathu Rajan
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
EXHIBIT 1 TO SOFA

    Question 3
Stream TV Networks, Inc. 21-10433 (KBO)
SOFA Q. 3

                      1001-00-71 HSBC Bank 9207
                                                       Payment
    Date        Ref No.        Payee       Memo         (USD)         For
                         SeeCubic ,
              Wire#53475 Inc                                      Court Order
 12/21/2020   V6017YF    (Delaware)                   8,420.68    Transfer
                         ST4M           #20042
                         Electronics    Beijing Emp
              Wire#55935 Inc. Beijing   Insurance
 12/04/2020   WQ01CVM Office            Nov, 2020     3,000.00    Services
                                        #20042
                         ST4M           Beijing Emp
                         Electronics    Insurance
              Wire#27195 Inc. Beijing   Balance
 12/04/2020   WR01WNN Office            Payment       7,947.78    Services
                                  Chancery
                                  Court
                                  Injunction-
              Wire#50575          Partial
 12/02/2020   WP01DWW Cousins Law Payment             5,000.00    Services


                                        Office Rent-
                         FENG           2 Months
                         TSANG          Dec 2, 2020
              Wire#88275 CORPORAT       Wired Dec 2,
 12/02/2020   WP00FBV    ION            2020         11,716.00    Services
                                        Wire#
              Part. Pmnt.               56965WO00
 12/01/2020   Inv. 5318     Salazar Law EZP       10,000.00       Services
                         FENG
                         TSANG
              Wire#64375 CORPORAT Office Rent-
 11/25/2020   WI00SAS    ION      2 Months     11,716.00          Services
                         Skadden,
              Wire#13745 Arps, Slate,                             Court Order
 11/24/2020   WH00KAC Meagher                         5,000.00    Transfer

                                        20040-Taipei
              Wire#39635    YEH, JIH-   Exp-Payroll
 11/21/2020   WD00A0R       CHUN        Partial      3,423.53     Services
              Wire#65065    Special     Motion
 11/17/2020   WA00EKQ       Counsel     Compel       45,000.00    Services
                         ST4M
              Wire#53475 Electronics,
 11/17/2020   V6016YF    Inc          #20041          2,800.00    Services
              Wire#55075
 11/12/2020   W501VGI    Salazar Law                  50,000.00   Services
                                     Stream TV
                                     v.See Cubic
                                     C.A.
              Wire#54125             No.2020-
 11/12/2020   W500PED    Cousins Law 0766-JTL         10,000.00   Services
                         HSBC Bank Bank
 11/12/2020   ACH        9207        Monthly fee      473.63      Services


                                        ST4M-20038-
                                        Google
                         ST4M           Projects to
              Wire#77615 Electronics,   Shenzhen(S
 11/11/2020   W300FL8    Inc            kyworth)    3,500.00      Services
                    1001-00-72 HSBC Bank 9215
                                                      Payment
   Date        Ref No.      Payee         Memo         (USD)        For


                                       As per
                                       Demand
                                       from Shad
                        SeeCubic ,     Chairman,
             Wire#39515 Inc            SeeCubic,                Transfer by
12/15/2020   X20033P    (Delaware)     Inc-Delaware 1,002.67    court order
                         AON Risk
                         Services,
             ACH #30-10- Inc. of New
11/30/2020   136051-12   York                       8,288.77    services


                                       #130163537-
                                       Alastair
                                       Crawford-
                         U S Legal     Late
11/18/2020   1333        Support, Inc. Cancellation 295.00      Services
                                     Premium
                                     Penalty#MA-
                                     0011-
                         Worker's    961(Ticket
                         Compensatio #TK-0278-
11/10/2020   1330        n Section   058         63.99          services
                                       Acct#12203-
                                       7808.01-
                         State of      Investigative
11/05/2020   1332        Nevada        Fees          500.00     services
             1000-10-00 TD Bank:1001-00-00 TD Bank 8682
                                                  Payment
   Date        Ref No.     Payee       Memo        (USD)        For
                       SeeCubic ,
             ACH#01885 Inc          To SeeCubic             Court Order
12/16/2020   TX01474-7 (Delaware)   (DE)        329.11      Transfer

                                    Pd by Phone
             PD by       TD BANK    Con#1-
12/01/2020   PHONE       8682       522092-20   851.00      Services

             ACH#15445 TD BANK      Maintenance
11/30/2020   M700Q13K 8682          Fee         25.00       Services
                                    Paper
                         TD BANK    Statement
11/30/2020   ACH         8682       Fee          3.00       Services
                         AT & T
11/24/2020   ACH         Mobility   Raja Cell    223.48     Services
                         AT & T
11/24/2020   ACH         Mobility   Mathu Cell   756.54     Services
             1000-10-00 TD Bank:1001-00-10 TD BANK 4394
                                                 Payment
   Date         Ref No.    Payee      Memo        (USD)        For
              Bank
              Ch#6146031 TD BANK   To SeeCubic             Court Order
12/16/2020    5-8        4394      (DE)        1,550.00    Transfer
                         TD BANK   Maintence
11/08/2019    ACH        4394      fee         25.00       Services
  EXHIBIT 2 TO SOFA

Windsor Summary Valuation
Richard Windsor had run a valuation exercise on the Stream TV Networks in 2020. Richard is
founder, owner of research company, Radio Free Mobile. He has 16 years of experience
working in sell side equity research. During his 11 year tenure at Nomura Securities, he focused
on the equity coverage of the Global Technology sector.

He had used the following methodologies for the purposes of the exercise:

Income Approach: Income Approach or Discounted cash flow (DCF) is a valuation method used
to estimate the value of an investment based on its expected future cash flows. DCF analysis
attempts to figure out the value of an investment today, based on projections of how much
money it will generate in the future.

Market Approach: Determines value by comparing the subject Company to other companies in
the same industry, of the similar business model, and/or within the same region.


Based on his study, the debtor was valued in the approx. range $300m - $750m. Here’s a
summary of the study:

Type of Approach                Low                             High
Income Approach                 $290m                           $749m
Market Approach                 $304m                           $662m
EXHIBIT 3 TO SOFA

   Debtor Assets
Important Note:
1. The debtor funded the capital to all of its foreign subsidiaries to acquire and develop assets and conduct business operations.
2. US GAAP treatment may not apply to foreign jurisdictions, the "values" may be incorrect from an accounting standard, however, they provide a objective measurement.
3. The debtor paid monies to all of its foreign subsidiaries for which it was issued intercompany loans; therefore, some of the expenses and assets of foreign subsidiaries listed
herein may be partially "double counted" as the monies are reflected in those loans.
4. However, the "know-how" developed through a variety of those operations are not identified as "assets" but they bring very real value to the debtor and positively impacts
the debtor's overall valuation substantially. Please see the Windsor valuation report enclosed.
5. Seecubic BV of the Netherlands is a subsidiary of Stream TV Networks, Inc the debtor - and is a different entity that Seecubic Inc of Delaware - a new company instituted by
the lenders.

The Complete asset list was prepared before company emails and the cloud storage system were disconnected by Seecubic Inc. Therefore, some of the information may be
incomplete and/or outdated.
Important Note:
1. The debtor funded the capital to all of its foreign subsidiaries to acquire and develop assets and conduct business operations.
2. US GAAP treatment may not apply to foreign jurisdictions, the "values" may be incorrect from an accounting standard, however, they provide a objective measurement.
3. The debtor paid monies to all of its foreign subsidiaries for which it was issued intercompany loans; therefore, some of the expenses and assets of foreign subsidiaries listed below may be
partially "double counted" as the monies are reflected in those loans.
4. However, the "know-how" developed through a variety of those operations are not identified as "assets" but they bring very real value to the debtor and positively impacts the debtor's
overall valuation substantially. Please see the Windsor valuation report enclosed.
5. Seecubic BV of the Netherlands is a subsidiary of Stream TV Networks, Inc the debtor - and is a different entity that Seecubic Inc of Delaware - a new company instituted by the lenders.




The Complete asset list was prepared before company emails and the cloud storage system were disconnected by Seecubic Inc. Therefore, some of the information may be incomplete and/or outdated.




13inch backlight                                            4                        Seecubic BV
13inch Open Cell                                            4                        Seecubic BV
13inch Converter board                                      1                        Seecubic BV
27inch backlight                                            5                        Seecubic BV
27inch
Open Cell                                                  15                        Seecubic BV
27inch
TCON                                                       9                         Seecubic BV
TI Power supplies                                          15                        Seecubic BV
65inch TCON                                                24
Arria10 DevKit                                             33                        Seecubic BV
Bitec HDMI 2.0 FMC board                                   34                        Seecubic BV
Bitec Vx1 8lane FMC board                                  4                         Seecubic BV
CVTE EB801
monitor board.                                             23                        Seecubic BV
FPGA Mezzanine Card (FMC)
prototype board                                            11                        Seecubic BV
Adafruit i2c-safe level shifter                             5                        Seecubic BV
Macnica mpression Vx1 16 lanes
FMC                                                        29                        Seecubic BV
Freedom Development Board
FRDM-K82F                                                   8                        Seecubic BV
Firefly RK3399                                              3                        Seecubic BV
27inch demo PC2                                             1                        Seecubic BV
BBD Test PC1                                                1                        Seecubic BV
BBD Test PC2                                                1                        Seecubic BV
sccdnl01-018                                                1                        Seecubic BV
sccdnl01-051                                                1                        Seecubic BV
sccdnl01-052                                                1                        Seecubic BV
sccdnl01-054                                                1                        Seecubic BV
sccdnl01-055                                                1                        Seecubic BV
sccdnl01-056                                                1                        Seecubic BV
scwbnl01-002                                                1                        Seecubic BV
scwbnl01-003                                                1                        Seecubic BV
27inch demo PC1                                             1                        Seecubic BV
astro vx1 generator                                         1                        Seecubic BV
astro gen monitor
                                                            1
28inch 4K AOC monitor                                                                Seecubic BV
lab bench power supply (old)                                1                        Seecubic BV
lab bench power supply (old)                                1                        Seecubic BV
scndnl01-069
                                                            1
Network switch                                                                       Seecubic BV




FINISHED GOODS
Pegatron-4K Digital Signage                                7
Display
Technology Demonstrator Render                             1
Only
Development Sample                                         1
Technology Demonstrator Render                             1
Only
BV3 8K Lite Demonstrator                                    1
Render Only Video Wall Display                             10
Phone Display Demonstrator                                  1
BV3 8K Lite Demonstrator                                    2

RAW MATERIALS / COMPONENTS / SUPPLIES
Power adapters for video wall mini                         9
PCs
Cat 5 ethernet cables for video wall                       12
HDMI cables for video wall                                 10
EU power cables with C13                                   10
connector for video wall
EU power cables with C5 connector                          11
for video wall
UE to USA power adapters for                               4
video wall
EU 6-socket power strips for video                         3
wall
EU 3-socket power strips for video                         9
wall
Netgear Gigabit Switches for video                         3
wall
China power cable with C13                                 1
connector
UK power cable with C13                                    1
connector
US power cable with C13 connector                          8
US power cable with C13 connector       1
- heavy duty
HDMI cables for misc                    9
demonstrators
HDMI cables for misc                    4
demonstrators - heavy duty
DVI-DVI cable                            1
DVI-HDMI cable                           1
USB extender cables                      2
Ultra-D remote controls                 11
NanoPi Android SoCs                      5
NanoPi power adapters                    3
MyRiad-60 Render Boards                  3


PACKAGING (boxes, flight cases, etc.)
Pegatron 65" Cardboard Shipping         1
Box
Technology Demonstrator Render          1
Only 65" Shipping Box
Silver hard carrying case               1




27" Samples                              12
28" Samples                              8
50" Samples                              93
50" (Cello)                              23
50" ROM                                  43
65"                                      50
65" (Pegatron)                          377
             Important Note:

             The Complete asset list was prepared before company emails and the cloud storage system were disconnected by Seecubic Inc. Therefore, some of the information may be incomplete and/or outdated.
             The "know-how" was acquired through many years of effort and much money spent that the debtor spent both directly and indirectly. That "know-how" value is what has
             allowed the debtor to raise equity investments of substantial monies through the years with company value in excess of $400 million. The value of this "know-how" has not
             been appraised for accounting purposes and not listed in the balance sheet of the company, but far exceeds the value of the monies spent.
             See Valuation Summary for how the investors perceived the value of the debtor.


             Software: Debtor owns software including its core algorithms for generating glasses-3D viewing, development kits and plug-ins for content creation in the glasses-free 3D
             format, and other software ranging from security encryption to manufacturing quality control.
             Render Engine (RE) Algorithms for Image Weaving
             Real-Time Conversion (RTC) Algorithms from 2D Sources
             RTC Algorithms from Stereo 3D Sources
             Ultra-D™ Video Player for Windows
             Ultra-D™ Video Player for Android
             Ultra-D™ Streaming Client
             Ultra-D™ Preview Plugin for After Effects
             Ultra-D™ Export Plugin for After Effects
             Ultra-D™ Conversion Plugin for After Effects
             Ultra-D™ Plugin for Nuke
             Ultra-D™ Plugin for Unreal Engine
             Ultra-D™ Plugin for Unity
             Ultra-D™ Software Development Kit for OpenGL
             Ultra-D™ Software Development Kit for DirectX 11/12
             SeeCrypt Encyption software for Windows
             SoCCrypt Encyption software for Android
             Passive Alignment software
             End of Line Inspection software
             License Key Server software
             Ultra-D™ Embedded software for Android

             Designs: Debtor owns design files for glasses-free 3D optics and mechanical back lights for a variety of products as well as designs for manufacturing process equipment


             Optics for multi-view 2K 5.5"
             Optics for multi-view 2K 5.99"
             Optics for multi-view 4K 10.1"
             Optics for multi-view 4K 15"
             Optics for multi-view 4K 27"
             Optics for multi-view 4K 28"
             Optics for multi-view 4K 50"
             Optics for multi-view 4K 65"
             Optics for multi-view BV3/8K Lite 65"
             Optics for two-view 8K 65"
             Optics for multi-view 8K 65"
             Custom backlight for multi-view 4K 65"
             Custom backlight for multi-view BV3/8K Lite 65"
             Custom backlight for two-view 8K 65"
             Passive Alignment equipment
             End of Line Inspection equipment




Individual patent applications are an asset and not listed in here as competitors would have an advantage if they identify applications.


             The Patents information was updated as of April 23, 2020. That information changes very quickly.

             Additional documents and applications are likely at SeeCubic or SeeCubic's Patent law firms.

                                    Generate
                                                                                                                         In progress                       Aborted              Phase done
                                                                                                                         Country validation                N/A                  in or close to grace perio
                                                                                                                         Patent granted                    To be checked        close to final date
                                                                                                                         Red outline means changes w.r.t. prev. report.
               DP ref ID ID Title                                                                               EP PCT TW DE ES FR GB IT              NL TR BR CA CN IN    IL   JP MY RU US KR
              174,002   8 Combining fractional and integer view mapping (Original: minimize cone transition
              174,003     effect)
                        1 Dual screen 2D/3D hardware device                                                                                                                                     2
              174,004 15 Switchable cell containing Arton-ITO-PI-foil
              174,008 22 Interface for 2d+depth picture creation
              174,009 24 Monitor DMO
              174,012 42 Anti-banding layer for autostereoscopic display
              174,013 37 Reduced-depth area on 3D display
              174.015 34 Bezel-lens fixation
              174.016 43 Anti-spilling cavity
              174,019 50 Diffractive Optics based viewing cone
              174.020 51 Passive Alignment
              174.022 55 Hardware/Software partitioning of RTC-IP block
              174,025 67 Spacer Plate Sandwich
              174.024 65 FBF hardware implementation with 2D depth profile
              174.028 81 Factor/offset-dependent 'overscan'
              174.029 59 Generic weaving parameterisation interface for low-cost weaving implementation
              174.031 85 Interoperable Multiview
              174.033 84 Segmented black-bar detector



             This schedule

             The Patents information was updated as of April 23, 2020. That information changes very quickly.
          The Patents information was updated as of April 23, 2020. That information changes very quickly.
          The copies of the Patenets are provided in the supporting document folder.
          Additional documents and applications are likely at SeeCubic or SeeCubic's Patent law firms.




DOMAINS

          Domain Names
          application-ultra-d.com
          applicationultra-d.com
          applicationultrad.com
          scpf.net
          seecube.net
          seecubic.com
          seecubic.eu
          seecubic.nl
          techventuresbv.com.
          streamtvinternational.com.
          technovativemedia.com.
          ultra-d.com.
          elocitynow.com.
          streamtvnetworks.net.
          mediatainmentinc.com.
          streamtvnetworks.com.
          stvinternational.com.
          stvinternational.eu.
          stvinternational.nl.
          streamtvinternational.eu.
          streamtvinternational.nl.
          stvi.eu.
          seecube.us.
          seecube.nl.
          seecube.eu.
          seecubic.uk.
          seecubic.net.
          seecubic.us.
          seecube.de.
          seecubic.de.
          streamtvnetworks.tech
          ultra-d.tech


TRADEMARKS
                                                                                Ultra D Word Trademark
          Country                         Reg. No.             Goods/Services
                                                               Computer hardware and software for creating, converting or otherwise enabling the viewing of
                                                               3D images; integrated circuits, integrated circuit chips, and integrated circuit modules for
                                                               creating, converting or otherwise enabling the viewing of 3D images; integrated circuits
                                                               incorporating algorithms for use in processing a variety of media, images, games and videos
                                                               into a format for 3D viewing; specialized computers and control software for receiving, storing
                                                               and playing back 3D motion pictures and their sound tracks; 2D to 3D content video converters;
          USA                                        4,961,393 autostereoscopic video displays, in Class 9
                                                                                   Ultra D Trademark
          Country                         Reg. No.             Goods/Services
                                                               Computer hardware for creating, converting or otherwise enabling the viewing of 3-
                                                               dimensional images; Computer software (recorded) for creating, converting or otherwise
                                                               enabling the viewing of 3-dimensional images; Computers for receiving, storing and playing
                                                               back 3-dimensional motion pictures and their soundtracks; Computer software (recorded} for
                                                               receiving, storing and playing back 3-dimensional motion pictures and their soundtracks, in
          China                           10160471             Class 9.
                                                               Computer software and computer hardware, all for producing video effects; Integrated circuits;
                                                               Chips [integrated circuits]; Circuits for use in the display of graphics; Electronic circuits for
                                                               television; Three dimensional picture manipulators; Three dimensional viewers; Video display
                                                               apparatus; Computer hardware and software systems for creating, converting or otherwise
                                                               enabling the viewing of 3-dimensional images; Integrated circuits, integrated circuit chips, and
                                                               integrated circuit modules for creating, converting or otherwise enabling the viewing of 3-
                                                               dimensional images; Integrated circuits incorporating algorithms for use in processing a variety
                                                               of media including, but not limited to, images, games and videos into a format for 3D viewing;
                                                               Specialized computers and control software for receiving, storing and playing back 3-
                                                               dimensional motion pictures and their sound tracks; 2-dimensional to 3-dimensional content
          European Union                  10368819             converters; Autostereoscopic video displays, in Class 9.
                                                               Video image processing device that converts 2D video into 3D video, set top box, computer
                                                               hardware and computer software used to create, convert or view 3D video, electronic
          Japan                           5514402              application machinery and parts, electrical Communication machinery, in Class 9.
                                                               Computer hardware and software for generating, converting, or viewing stereoscopic images;
                                                               integrated circuits for generating, converting, or viewing stereoscopic images, integrated circuit
                                                               chips, and integrated circuit modules; incorporated for processing multimedia (including but
                                                               not limited to video, games, movies); integrated circuits that act as stereoscopic viewing
                                                               formats; dedicated computer and control software for receiving, storing and playing
                                                               stereoscopic movies and their soundtracks; flat to stereoscopic content converters;
          Taiwan                          1538672              autostereoscopic images monitors, in Class 9.
Important Note:
1. The debtor funded the capital to all of its foreign subsidiaries to acquire and develop assets and conduct business operations.
2. US GAAP treatment may not apply to foreign jurisdictions, the "values" may be incorrect from an accounting standard, however, they provide a objective measurement.
3. The debtor paid monies to all of its foreign subsidiaries for which it was issued intercompany loans; therefore, some of the expenses and assets of foreign subsidiaries listed below
may be partially "double counted" as the monies are reflected in those loans.
4. However, the "know-how" developed through a variety of those operations are not identified as "assets" but they bring very real value to the debtor and positively impacts the
debtor's overall valuation substantially. Please see the Windsor valuation report enclosed.
5. Seecubic BV of the Netherlands is a subsidiary of Stream TV Networks, Inc the debtor - and is a different entity that Seecubic Inc of Delaware - a new company instituted by the
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                                                              Leases

Additional information has been added for your convenience but the actual document should be consulted as it will take presidence
over our interpretation thereof.
Warehouses storing materials are not listed here ie. Uhaul and other storage facilities.



Item Number Location                                                                     Term          Amount /mo.        Lease Ends
    2.3-1     2009 Chestnut Street, 3rd Floor, Philadelphia, PA 19103                   1 year            $1*         ########
    2.3-2     Eindhoven - Rental Park Forum 1033                                                    €      9,230.41
    2.3-3     Eindhoven - Rental Park Forum 1035                                                    €      9,766.45
    2.3-4     5F, No. 50, Ln. 316, Ruiguang Rd, Neihu Dist Taipei 114, Taiwan           1 year      NT$ 166,800.00
    2.3-5     1133 Auburn Street, Fremont, CA 94538                                     2 Year         $8,250.00
    2.3-6      No.1-B Factory, High-tech Zone, Suzhou City, Jiangsu Province, China     5 Years       RMB 466,350 ########
    2.3-8     Beijing Lease Agreement**                                                 1 Year         RMB 3,800
* Also obligation includes half of monthly utilities and real estate taxes for location
** Technically the Lease contract is with ST4M which we have been paying the lease obligations on their behalf which house
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Stream TV
              Item #       Date          Description                                                            Account
                  2.3-9    01-01-2019    License Grant                                                          Arasan Chip Systems, Inc.
                 2.3-10    28-01-2019    License for Ultra D Software                                           Robert Bosch GmbH
                 2.3-11    01-02-2019    Patent License                                                         HDMI


Seecubic BV
              Item #       Date          Description                                                            Account
                 2.3-13    1/1/2019      190008 Bechtle Professional License Dec2018                            Bechtle direct B.V.
                 2.3-14    2/1/2019      190106 Bechtle O365 Businese license Jan 2019                          Bechtle direct B.V.
                 2.3-15    2/28/2019     190171 Bechtle O365 license Feb2019                                    Bechtle direct B.V.
                 2.3-16    4/1/2019      190245 Bechtle O365 Business license March 2019                        Bechtle direct B.V.
                 2.3-17    4/30/2019     190308 Bechtle professional license Q22019                             Bechtle direct B.V.
                 2.3-18    6/1/2019      190364 Bechtle professional license May2019                            Bechtle direct B.V.
                 2.3-19    7/1/2019      190459 Bechtle license online professional June2019                    Bechtle direct B.V.
                 2.3-20    7/31/2019     190506 Bechtle professional license July2019                           Bechtle direct B.V.
                 2.3-21    8/21/2019     190549 Bechtle License GravityZone 3 years/ anti virus global          Bechtle direct B.V.
                 2.3-22    9/1/2019      190583 Bechtle professional License Aug2019                            Bechtle direct B.V.
                 2.3-23    10/1/2019     190661 Bechtle professional license Sep2019                            Bechtle direct B.V.
                 2.3-24    10/31/2019    190706 Bechtle professional license Oct2019                            Bechtle direct B.V.
                 2.3-25    12/3/2019     190773 Bechtle OVS license 1 year                                      Bechtle direct B.V.
                 2.3-26    12/11/2019    190799 Bechtle O365 license Nov2019                                    Bechtle direct B.V.
                 2.3-27    1/28/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-28    2/25/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-29    3/27/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-30    4/28/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-31    5/27/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-32    6/28/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-33    7/29/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-34    8/26/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-35    9/27/2019     Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-36    10/28/2019    Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-37    11/27/2019    Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-38    12/29/2019    Unity license                                                          Credit Card MPA Banken-Burghouts
                 2.3-39    5/27/2019     Jet Brains/9xReSharper Ultimate                                        Creditcard Toon van Berkel
                 2.3-40    7/17/2019     190485 Koning&Hartman 10 licenses for seecube demo                     Koning & Hartman B.V.
                 2.3-41    6/13/2019     190384 Proxmox 1 CPU/ year July 2019-July 2020                         Maurer IT Systemlosungen KG
                 2.3-42    1/11/2019     190037 Mentor Graphics PO469 Questa Prime AP SW Jan-Apr2019            Mentor Graphics (Netherlands) BV
                 2.3-43    2/1/2019      190102 Mentor Graphics License for Q1 2019                             Mentor Graphics (Netherlands) BV
                 2.3-44    4/30/2019     190292 Mentor Graphics license Apr2019                                 Mentor Graphics (Netherlands) BV
                 2.3-45    7/31/2019     190522 Mentor Graphics License Q3                                      Mentor Graphics (Netherlands) BV
                 2.3-46    10/31/2019    190697 Mentor Graphics License Q4                                      Mentor Graphics (Netherlands) BV
                 2.3-47    4/29/2019     190288 License for Bareos 2019                                         Proxy Services B.V.
                 2.3-48    5/16/2019     190330 Rhodix Red hat Enterprise 2019-2020                             Rhodix It Services B.V.
                 2.3-49    10/15/2019    190672 Avnet Vivado license                                            Silica an Avnet company
                 2.3-50    7/1/2019      190508 Mathworks License for Bart                                      The MathWorks B.V.
                 2.3-51    4/1/2019      Zemax optical license year renew 2019                                  Zemax Europe Ltd


Other
              Item #       Date       Description                                                               Account
                 2.3-12    11-01-2019 Software License                                                          Phillips
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Stream TV
                                                                                                                                                                                             Placed in
              GL Account                                                                                                Asset Description                                     Asset #         Service           Original Cost
              1300-00-00 Machinery, Furniture & Fixures                                Cleanroom(Full Option1)                                                             STV-ME-00001        11/1/2015    $           474,810
              1300-00-00 Machinery, Furniture & Fixures                                Electric Power Syetem                                                               STV-ME-00002        11/1/2015    $            87,928
              1300-00-00 Machinery, Furniture & Fixures                                LCM BLU Line & LCM BLU Line Equipment                                               STV-ME-00003        11/1/2015    $           294,324
              1300-00-00 Machinery, Furniture & Fixures                                Coretronics Tooling                                                                 STV-ME-00008         5/1/2016    $           903,000
              1300-00-00 Machinery, Furniture & Fixures                                Pegatron Chaisse -Accrued 2016                                                      STV-ME-00009         5/1/2016    $           540,100

              1300-00-11 Iinuma Machines                                               Mass Production Unit                                                                STV-ME-00010         5/1/2016    $        1,349,245
              1300-00-11 Iinuma Machines                                               Mass Production Unit - VAT                                                          STV-ME-00011         5/1/2016    $        1,503,400
              1300-00-11 Iinuma Machines                                               Mass Production Line : Installation - Accrued 2016                                  STV-ME-00012         5/1/2016    $        92,780.03
              1300-00-11 Iinuma Machines                                               Mass Production Unit : Passive Alignment - Accrued 2016                             STV-ME-00013         5/1/2016    $        63,933.87
              1300-00-11 Iinuma Machines                                               Mass Production Unit : Temp Control - Accrued 2016                                  STV-ME-00014         5/1/2016    $        88,562.75
              1300-00-11 Iinuma Machines                                               Mass Production Unit - Accrued AP 2016                                              STV-ME-00015         5/1/2016    $           22,479
              1300-00-11 Iinuma Machines                                               Mass Production Unit - Accrued 2016                                                 STV-ME-00016         5/1/2016    $        6,123,765

              1300-00-13 Small Production Unit                                         Small Production Unit                                                               STV-ME-00004        11/1/2015            445,708.58
              1300-00-13 Small Production Unit                                         Small Production Unit - VAT                                                         STV-ME-00005        11/1/2015            127,696.22
              1300-00-13 Small Production Unit                                         Small Production Unit                                                               STV-ME-00006        11/1/2015            126,518.22
              1300-00-13 Small Production Unit                                         Small Production Unit                                                               STV-ME-00007        11/1/2015             37,183.50

              1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment    Fremont Office Server - PowerEdge VRTX Rack - Finance Lease # 001-9026263-001       STV-CM-00001         1/1/2019             10,487.46
              1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment    Fremont Office Server - PowerEdge M640 (1 of 2) - Finance Lease # 001-9026263-001   STV-CM-00002         1/1/2019             19,449.58
              1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment    Fremont Office Server - PowerEdge M640 (2 of 2) - Finance Lease # 001-9026263-001   STV-CM-00003         1/1/2019             19,449.58
              1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment    Fremont Office Server - PowerEdge R440 (1 of 3) - Finance Lease # 003-9026263-002   STV-CM-00004        3/31/2019             18,864.92
              1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment    Fremont Office Server - PowerEdge R440 (2 of 3) - Finance Lease # 003-9026263-002   STV-CM-00005        3/31/2019             18,864.92
              1300-00-00 Machinery, Furniture & Fixures:1300-10-00 Office Equipment    Fremont Office Server - PowerEdge R440 (3 of 3) - Finance Lease # 003-9026263-002   STV-CM-00006        3/31/2019             18,864.92

              Total Machine and Equipment                                                                                                                                                                        12,281,434.05




Seecubic BV
              Code                                                                     Description                                                                         Acquisition date Original Cost
              00530 - other immovable tangible assets
                                                                                 107   130549 Van der Linden 2302 V aansluitingen                                             31-07-2013          890.00
                                                                                 109   Palletstelling for warehouse Begra                                                     20-01-2014        3,774.50
                                                                                 111   140079 Begra palletstelling 2ed payment                                                29-01-2014        3,019.60
                                                                                 116   140152 Horeca world koelkast                                                           10-02-2014          399.00
                                                                                 121   140224 Begra GPALS                                                                     14-02-2014          754.90
                                                                                 149   141145 Teunissen Reduceer Reinigingscombinatie                                         03-10-2014        3,880.50
                                                                                 178   150109 ABUS KolomzwenkKraan type LS                                                    16-01-2015        1,442.40
                                                                                 180   150137 ABUS 70% kolomzwenkkraan PO227                                                  11-02-2015        3,365.60
                                                                                 185   150167 Romex 4 stuck Metro Karren                                                      01-02-2015        1,083.92
                                                                                 188   150257 Van der Linden uitbreiding elektrische installatie                              02-03-2015        5,030.86
                                                                                 190   150351 Jungheinrich platenwagen                                                        19-03-2015          402.70
                                                                                 195   150452 ABN the air management group vervangen hepa filter P                            10-04-2015        1,565.69
                                                                                 204   150731 Wouter 28'' bonding table                                                       23-06-2015        2,397.00
                                                                                 212   150774 uitbreiding camera aansluitingen PO 269/ 270                                    08-07-2015        3,409.60
                                                                                 229   151376 EBV elektronik development kit DK-DEV-5ASTD5N                                   14-12-2015        6,994.80
                                                                                 230   151396 ARP Xeon E5-2630                                                                22-12-2015          699.95
                                                                                 235   161086 Alternate 32'' monitor for development                                          29-01-2016          742.98
                                                                                 240   161276 Mavom Chemical solutions PO329                                                  05-04-2016        3,205.00
                                                                                 250   161322 ColdVink demontabele geisoleerde Cel 50%                                        21-04-2016        2,175.00
                                                                                 251   161420 Coldvink geisoleerde cel                                                        27-05-2016        2,175.00
                                                                                 257   161613 Handelsonderneming hout                                                         25-07-2016          403.45
                                                                                 304   170699 Aircocentrale.nl koeling 3.5kw                                                  19-10-2017        2,770.00
                                                                                 336   180497 Adborrenbergs PVC banen                                                         01-07-2018        6,952.45
                                                                                 355   190731 Ledivia 30% for LED light in office                                             15-11-2019
                                                                                  62   aanbrengen sanitair                                                                    21-07-2011         880.97
                                                                                  63   alarmsysteem                                                                           02-09-2011       2,420.00
                                                                                  64   werkzaamheden keuken en vergaderruimte                                                 28-06-2012      20,173.98
                                                                                  65   Cleanroom                                                                              01-10-2012     402,069.70
                                                                                  66   werkzaamheden aanleggen electronetwerk                                                 08-09-2012      40,378.97
                                                                                  67   aanleg aircosysteem                                                                    19-09-2012      15,847.00
                                                                                  68   aanbrengen branddeur en trapbrug                                                       04-12-2012      24,487.87
                                                                                  69   leveren en plaatsten glazen wand                                                       22-03-2012       5,732.00
                                                                                  70   afscheidingsgordijnen loods                                                            02-05-2012       9,450.00
                                                                                  71   dubbele meterkast                                                                      10-05-2012       1,351.18
                                                                                  72   vloerafwerking bedrijfsunit                                                            31-07-2012      14,507.50
                                                                                  73   vloerbedekking bioscoop en kantine                                                     23-08-2012       3,175.00
                                                                                  74   serverruimte                                                                           28-08-2012       5,416.45
                                                                                  75   glazen kruis kantoor en electra                                                        06-09-2012       5,294.66
                                                                                  76   aanbrengen folie op ruiten                                                             20-09-2012       1,596.00
                                                                                  77   office direction                                                                       25-09-2012       7,419.50
                                                                                  78   bioscoop                                                                               30-10-2012       3,662.81
                                                                                  79   alarm installation                                                                     21-01-2013       6,405.00
                                                                                  82   alarm Chirion Toch 640IP                                                               17-01-2013       1,212.25
                                                                                  84   onroerende materiele vaste activa                                                      15-02-2013       9,781.25
                                                                                  85   Pad                                                                                    28-02-2013         588.74
                                                                                  86   Camera                                                                                 21-03-2013       1,500.00
                                                                                  87   brandalarm cleanroom                                                                   11-04-2013         700.00
                                                                                  88   noodverlichting gebouw 1035                                                            04-04-2013         387.98
                                                                                  89   noodverlichting gebouw 1033                                                            04-04-2013         387.98
                                                                                  92   Aircocentrale                                                                          01-06-2013       9,900.00
                                                                                  93   Leveren en plaatsen stalen hekwerk                                                     01-07-2013       2,387.92
                                                                                  94   Leveren en plaatsen open trap                                                          01-07-2013       3,125.00
              Subtotal - 00530 - onroerende materiele vaste activa                                                                                                                           657,774.61
              01100 - machinery
                                                                                 105   130890 Vogel's Tafelsstandaard voor Zeggy                                              02-12-2013       1,481.05
                                                                                 110   140073 Woutru lamineer machine 30% PO118                                               29-01-2014       5,545.00
                                                                                 113   140087 Stimag Weegschaal model 664                                                     03-02-2014         945.00
                                                                                 123   140295 4PICO LED illumination array PO119                                              18-03-2014       5,050.00
                                                                                 125   140312 Woutru BV PO118                                                                 19-03-2014      13,524.00
                                                                                 135   140727 Dalmec balancersystemen 40%                                                     20-06-2014      10,100.00
                                                                                 136   140862 Woutru prepayment PO173                                                         24-07-2014      10,694.40
                                                                                 137   140863 Woutru prepayment PO172                                                         22-07-2014      10,018.80
                                                                                 140   140915 ABN Klimaattechniek PO No.127                                                   31-07-2014       1,360.48
                                                                                 141   140918 Woutru prototype PO150                                                          01-07-2014      11,586.40
                                                                                 143   141002 Dalmec balancersysteem for China                                                25-08-2014      21,800.00
                                                                                 144   141104 4PICO UV LED PO 187 50%                                                         23-09-2014      13,959.00
                                                                                 145   141105 4PICO UV LED PO188                                                              23-09-2014       8,041.00
                                                                                 147   141112 Dalmec balance system for Eindhoven                                             24-09-2014      15,150.00
                                                                                 154   141187 bol.com Panasonic video camera                                                  20-10-2014       1,980.99
                                                                                 155   141196 Bol.com Panasonic video camera                                                  24-10-2014         660.33
                                                                                 158   141306 Dalmec Balance system to Wuxi PSD-2014-030                                      13-11-2014      36,700.00
                                                                                 160   141317 4PICO LED curing lamp PSD-2014-030 PO187                                        14-11-2014      13,959.00
                                                                                 161   141318 4pico UV LED Source PSD-2014-030 PO188                                          14-11-2014       8,041.00
                                                                                 162   141410 van der winkel spijkermachine for production                                    05-12-2014         386.33
                                                                                 165   141437 Woutru 3x Metalen frame eindcontrole PO 204                                     01-12-2014       5,904.60
                                                                                 166   141440 Woutru protopype 3D Lens lamineer machine PO 172 70%                            01-12-2014      24,473.20
                                                                                 167   141441 Woutru prototype 3D lens lamineer machine V2.1-65 PO                            01-12-2014      26,075.60
                                                                                 168   141436 4PICO UV LED source 50% PO 222                                                  19-12-2014      22,900.00
                                                                                 171   141481 Woutru glasplaat 50'' prototype lamineermachine PO208                           23-12-2014       6,163.00
                                                                                 172   141482 Woutru reserve onderedelen PO192                                                23-12-2014       5,823.00
                                                                                 173   141483 Woutru camera alignment PO184                                                   23-12-2014       2,814.00
                                                                                 177   150077 Woutru PO213                                                                    31-01-2015      11,071.20
                                       179   150124 4Pico UV LED lamp 50% at order PO234                 06-02-2015    10,800.00
                                       181   150139 BOL.com Panasonic HC-X920                            10-02-2015       660.33
                                       182   150139 BOL.com Panasonic HC-X920                            10-02-2015       660.33
                                       187   150253 VideoHolland Blackmagic Decklink duo                 05-03-2015     2,667.78
                                       191   150370 4Pico UV lamp PO222                                  01-03-2015    22,900.00
                                       193   150409 4Pico UV LED 50%                                     08-04-2015    10,800.00
                                       194   150410 4Pico UV source LED                                  08-04-2015     2,800.00
                                       196   150457 Bol.com Panasonic HC-X920                            17-04-2015       660.33
                                       197   150490 4Launch notebook GS60 for Gaming                     28-04-2015     1,486.78
                                       202   150634 VideoHolland 5pcs DeckLink Duo                       02-06-2015     2,059.93
                                       210   150766 Farnell EMC-SET 1 EU                                 01-07-2015     4,158.00
                                       213   150781 Bol.nl Panasonic video camea                         21-07-2015     1,287.60
                                       214   150823 Bol.com panasonic BDT 700                            16-07-2015       709.09
                                       215   140076 4PICO LED illumination PO119                         31-01-2014     5,050.00
                                       217   150995 SiComputers Zbox EN860                               07-09-2015       601.61
                                       218   151128 Megekko Asus PB287Q 4K                               15-10-2015     1,506.57
                                       219   151130 Sicomputers Zbox EN860                               12-10-2015    16,730.84
                                       221   151219 ARP Dell T630 PO302                                  09-11-2015     2,238.95
                                       222   151233 DELL PC Alienware X51                                11-11-2015     1,180.99
                                       224   151280 ARP T630                                             20-11-2015     6,707.45
                                       225   151328 4Launch 2 MSI gaming notebook                        04-12-2015     3,800.00
                                       228   151365 4Launch Acer LED monitor 27''                        10-12-2015       619.01
                                       231   150458 Megekko Asus PB287Q 4K                               14-04-2015     1,189.96
                                       232   161014 4Launch Notebook GT72S                               13-01-2016     1,900.00
                                       233   161021 4Launch MSI gaming notebook                          15-01-2016     1,900.00
                                       236   161188 Konica Minolta r Set                                 07-03-2016     2,300.00
                                       241   161287 Dell computer                                        10-04-2016     1,486.78
                                       242   161308 Dell Alienware PC                                    15-04-2016     5,947.12
                                       243   161313 EBV elektronik 3pcs FPGA PO 327                      08-04-2016     6,860.19
                                       244   161316 Dell PC for 28''                                     14-04-2016     1,370.25
                                       245   161321 Megekko Asus PB287Q 4K                               20-04-2016     1,121.32
                                       247   161388 4Launch BenQ monitor 17''                            17-05-2016       544.63
                                       248   161399 DELL AlienWare                                       20-05-2016     1,233.68
                                       249   161403 Centralpoint.nl 27'' 5K monitor                      23-05-2016       767.00
                                       252   161473 Everts product handling Yamaha PO343                 09-06-2016    16,649.37
                                       254   161516 BuyIT Direct 27 inch display                         27-06-2016       871.00
                                       255   161565 Planolith Plate, natural hard stone                  11-07-2016     3,027.69
                                       256   161368 Woutru Lijm aanbreng system PO 331                   09-05-2016     2,837.00
                                       259   161659 Coolblue BenQ BL3201PT                               23-08-2016       660.33
                                       260   161779 4Launch MSI Gaming notebook                          26-09-2016     1,486.78
                                       262   161886 ARP DELL Xeon PO374                                  01-11-2016     4,760.00
                                       263   161887 Philips 4pcs 5.98 inch PO370                         01-11-2016     8,000.00
                                       264   161895 Dell Alienware 17 laptop 1pcs                        07-11-2016     1,561.24
                                       266   161947 Bestronics MyRaid Mipi                               18-11-2016     5,122.50
                                       267   161949 Philips 4''and 14'' lens                             15-11-2016    19,300.00
                                       268   161956 Coolblue BenQ BL2711U                                01-12-2016     2,475.21
                                       269   161987 4Launch Netgear Switch ,Access                       08-12-2016       889.26
                                       270   161994 Bestronics MyRaid PO381                              08-12-2016     5,784.48
                                       271   161771 DELL Alienware Area-51                               26-09-2016     1,528.10
                                       272   161921 Dell 5pcs Alien PC                                   18-11-2016     8,673.55
                                       273   170059 4Launch MSI gaming notebook                          26-01-2017     1,486.78
                                       275   170177 IFB Minipleat M5                                     07-03-2017     1,181.60
                                       301   170408 Kamera Express Canon EOS 5Ds                         15-06-2017     2,982.64
                                       302   170418 Digital pictures Blu-ray                             15-06-2017       575.00
                                       305   170729 Alternate Dell 32''                                  01-11-2017     3,478.47
                                       308   170779 Mouser 8K project Altera                             24-11-2017     4,572.15
                                       309   170756 Matsunami trading 50% total PO                       01-12-2017    36,168.34
                                       312   180105 Matsunami trading 50% payment for PO417              12-02-2018    36,061.69
                                       313   180257 Bitec FMC HDMI card                                  18-04-2018     4,619.66
                                       320   180266 Mouser ICs                                           24-04-2018     5,000.00
                                       323   180301 Mouser                                               07-05-2018    10,000.00
                                       324   180302 VideoHolland Blackmagic DeckLink Duo2                07-05-2018       841.32
                                       325   180303 Mouser develop kits                                  07-05-2018     4,743.60
                                       326   180304 Mycom Dell OptiPlex                                  08-05-2018     4,656.20
                                       330   1800016 4Launch Race simulation                             11-01-2018     1,206.53
                                       332   180384 Neways cleanroom Wuxi                                04-06-2018    10,805.67
                                       339   180268 Nintendo switch                                      25-04-2018     1,110.00
                                       340   180276 Mouser Ics                                           27-04-2018     9,743.60
                                       341   180509 Photron USA iEB331B Evaluation board                 02-08-2018     2,825.46
                                       342   180689 Credit Card Toon Oct 2018                            26-10-2018       652.48
                                       347   190228 Mouser Intel/ Altera for building blocks project 3   29-03-2019
                                       348   190258 Get Cameras 3D camera                                09-04-2019
                                       356   190740 Coolblue lennovo laptop Mick                         16-11-2019
                                        41   DELO infrastructure                                         07-09-2011     8,843.90
                                        42   assembly tools en inspectiesystem                           01-09-2011    20,000.00
                                        43   assembly tools en inspectiesysteem                          16-09-2011    20,000.00
                                        44   Oscilloscope                                                25-09-2011     3,136.00
                                        45   inventaris Philips 3ds product                              10-11-2011     7,500.00
                                        46   v-ray 2.0                                                   13-12-2011       970.00
                                        48   vacuumset                                                   01-03-2012     1,031.94
                                        49   delolux                                                     22-06-2012     9,060.02
                                        50   thecus n120000-2u 12bay                                     25-06-2012     2,520.15
                                        51   simco ionisator                                             01-08-2012       747.90
                                        52   aerostat guardian                                           01-08-2012     2,010.20
                                        53   aces apc smart                                              10-08-2012       945.00
                                        54   APC Smart                                                   08-08-2012       534.00
                                        55   basan vacuum cleaner                                        28-08-2012       624.30
                                        56   basan gowning bench                                         28-08-2012       819.50
                                        57   basan tool cart                                             29-08-2012     2,111.20
                                        58   microscoop                                                  07-11-2012     5,930.00
                                        59   oscilloscope                                                01-11-2012     3,897.52
                                        80   Cleanroom work bench                                        31-01-2013     1,853.00
Subtotal - 01100 - gereedschappen                                                                                     741,786.23
01200 - inventories office
                                         1   Ime Kantoor en magazijn                                     12-07-2011     5,500.00
                                        10   Chemicaliënkast                                             17-08-2012     1,700.00
                                       104   130865 IME office table, chair                              29-11-2013     2,193.55
                                        11   bureau en bureaustoelen                                     07-08-2012     1,189.59
                                       114   140115 IME kantoor bureau                                   30-01-2014     2,086.87
                                       118   140178 BASECOM optimaliseren van het 3G signaal PO 121      15-02-2014     3,810.00
                                        12   bureau 5x en bureaustoelen 20x                              25-09-2012     2,489.25
                                       122   140293 IME bureau for new employee                          14-03-2014       812.72
                                       127   140425 IME Bureau for new colleague                         10-04-2014     1,532.82
                                       128   140509 ime bureau for new employee                          01-05-2014       648.37
                                       129   140562 IME kantoor Bureau voor new employee                 01-05-2014       680.67
                                        13   bureau 4x + roldeurkast 4x                                  04-10-2012     3,518.02
                                       132   140696 IME desk for new colleagues                          13-06-2014     1,864.85
                                       133   140751 Dikker Knapzak folie                                 08-06-2014       588.00
                                       138   140902 Prokonpack plakbandapparaat                          30-07-2014       495.00
                                        14   stellingkasten                                              15-10-2012     2,217.00
                                        15   ESD tafel                                                   22-10-2012       945.00
                                        16   ronde tafel                                                 08-11-2012       500.00
                                        17   bureaustoel 4x roldeurkasten 4x                             27-11-2012     2,732.20
                                       174   141508 IME Bureaustoel for new colleague                    19-12-2014       691.60
                                       192   150375 Centralpoint.nl Soundstation Duo                     01-04-2015       460.00
                                         2   whiteboard 2x                                               05-09-2011     1,190.00
                                       201   150637 IME Roldeurkast                                      02-06-2015       564.30
                                       239   161212 IME roldeurkast for office                           16-03-2016       667.80
                                       276   170360 Martens Systems Monteren 2 elektrische Laadpunten    24-05-2017     2,400.00
                                         3   kantoormeubelen                                             06-09-2011     3,500.00
                                       331   180365 Industriele veiling eindhoven cleanroom furnature    31-05-2018     3,300.00
                                         4   bureaus                                                     17-11-2011       600.00
                                        47   frame ultra d wall                                          13-12-2011    11,680.78
                                         5   roldeurkasten                                               17-11-2011     1,288.20
                                         6   Cafitesse 6.1 Luxery                                        02-03-2012     1,373.72
                                        60   dressoir                                                    17-04-2012     1,041.24
                                        61   balie                                                       17-04-2012     2,926.61
                                         7   audiokast                                                   12-06-2012     2,825.00
                                        81   whiteboard lega                                             03-01-2013       595.86
                                         9   kasten, bureaus en bureastoelen                             01-08-2012     5,101.08
                                        91   Office furnature for new employee                           17-04-2013     2,380.22
                                        98   Desk, Chair                                                 22-10-2013     1,832.87
Subtotal - 01200 - kantoorinventaris                                                                                   79,923.19
01300 - computer inventory
                                       100 Computer                                                      28-10-2013      954.54
                                           131   140640 4Launch Asus Ultrabook                         27-05-2014      1,227.27
                                           134   140762 Bechtle HP ZBook for Mark de Groot             23-06-2014      1,875.50
                                           139   140906 4Launch computers                              29-07-2014      1,338.47
                                           142   140982 4Launch ASUS Ultrabook 3pcs                    05-08-2014      3,607.56
                                           146   141111 MaxICT HD monitor                              25-09-2014        873.65
                                           148   141144 4Launch Asus, Dell Mini PC for new colleague   01-10-2014      1,510.74
                                           151   141150 4Launch Dell Mini PC, handscanner              06-10-2014      2,778.93
                                           152   141168 DELL B.V computer                              08-10-2014      2,099.50
                                           156   141217 ARP NL Netgear for IT                          31-10-2014      3,045.95
                                           157   141303 WeSecure WatchGuard XTM 515                    14-11-2014      2,577.81
                                           159   141314 4Launch computer parts                         12-11-2014      1,019.64
                                           163   141423 Centralpoint.nl Smart UPS                      15-12-2014      2,881.40
                                           164   141424 Centralpoint.nl PowerEdge R730                 15-12-2014     17,845.92
                                           170   141450 47Launch PC components                         16-12-2014      2,653.68
                                           175   141521 Centralpoint.nl Smart UPS                      22-12-2014      2,687.78
                                           176   140514 4Launch computer parts                         25-04-2014      2,335.69
                                            18   hardware                                              01-12-2011      1,000.00
                                           183   150152 Dell Laptop for Hans Zuidema                   12-02-2015      1,319.00
                                           184   150157 4Launch computer parts                         12-02-2015      1,374.65
                                           186   150184 4Launch Dell Mini PC                           12-02-2015      1,275.19
                                           189   150331 4Launch Digital Harddisk                       18-03-2015        895.79
                                           198   150527 4Launch spare parts                            20-04-2015        644.21
                                           199   150546 Alternate 28'' laptop                          13-05-2015      1,528.10
                                            20   Yamaha VIP+                                           19-03-2012        450.00
                                           200   150547 ARP Dell powerEdge R730                        06-05-2015      3,323.00
                                           205   150736 4Launch MSI Gaming Notebook                    24-06-2015      1,628.91
                                           206   150743 Bob shop ASU Monitor                           29-06-2015      1,958.68
                                           207   150738 ARP Dell powerEdge R730                        22-06-2015      3,323.00
                                           211   150773 4Launch Dell Mini PC                           06-07-2015        468.55
                                           216   150918 4Launch MSI gaming notebook                    06-08-2015      1,578.50
                                            22   computers                                             19-06-2012      2,356.97
                                           223   151238 4Launch 28pcs Kingston SSD 2.5                 12-11-2015      1,040.17
                                           226   151329 4Launch LED Monitor                            04-12-2015        681.82
                                            23   intelcore i5 5x                                       27-06-2012      2,452.94
                                           234   161053 4Launch Computer parts                         21-01-2016      1,215.66
                                           237   Docking station                                       10-03-2016      4,708.26
                                           238   Docking station                                       10-03-2016        423.14
                                            24   LG monitor 7x                                         31-08-2012      1,106.13
                                           258   161614 ARP powerEdge R730xd for IT                    20-07-2016      8,233.03
                                            27   laptop                                                22-10-2012        527.22
                                           274   170138 BASECOM repeatsystem 4G                        16-02-2017      3,065.00
                                           303   170526 4Launch computer                               27-07-2017      5,583.12
                                           306   170731 ARP WatchGuard 3Y                              01-11-2017      2,083.90
                                            31   computers 2x                                          27-07-2011      1,873.78
                                           310   180088 4Launch 5pcs PC for development                06-02-2018      4,600.00
                                           311   180110 ARP Dell XPS 13'' Ultrabook for Toon           01-02-2018      1,327.91
                                           314   180261 Rhodix huawei switches for IT                  17-04-2018      9,950.00
                                            32   DM800                                                 16-08-2011        914.04
                                           333   180448 ARP Dell XPS 13 16GB 2pcs                      04-07-2018      3,127.75
                                           334   180449 ARP Dell PowerEdge R740                        04-07-2018      8,605.54
                                            34   panasonic tv 2x                                       19-08-2011      1,492.48
                                           345   180766 ARP Server Adapter PO464                       20-11-2018      2,356.12
                                           346   190172 ARP Dell PowerEdge R640 PO479                  05-03-2019
                                           350   PC for Bud                                            27-05-2019
                                           351   190490 Azerty Dell laptop for Sheeba                  19-07-2019
                                           352   190547 Azerty Dell laptop for Nebosja                 23-08-2019
                                            36   laptop 2x                                             28-09-2011      1,599.66
                                            38   wham display                                          28-11-2011      2,000.00
                                            83   Asus Eee Pad 2x                                       08-02-2013        960.84
                                            99   130743 MP2 Stekkerdoos                                24-10-2013        495.45
Subtotal - 01300 - computerinventaris                                                                                144,862.54
05300 - licenties
                                           108   130530 Koning & Hartman licences                      23-07-2013      7,564.00
                                           150   141083 lumerical Commercial license FDTD              17-09-2014      5,850.00
                                           169   141435 Koning&Hartman 50pcs License                   18-12-2014      4,125.00
                                           203   150717 EBV elektronik SW-Quartus License              15-06-2015      3,736.66
                                           335   180474 Avnet vivado license                           09-07-2018      3,595.00
                                           337   180368 Bitec Lincese IP core                          06-06-2018     15,396.65
                                           338   180376 ARROW Software altera                          04-06-2018      5,165.77
                                           343   180749 Bechtle Pure Storage 50% payment               01-11-2018     26,796.53
                                           344   180750 Bechtle Pure Storage 50% payment               14-11-2018     26,796.53
                                           349   190299 Bitec Spain Core License for SV team Assets    03-05-2019
                                           353   190549 Bechtle License GravityZone 3 years            21-08-2019
                                           354   190672 Avnet Vivado lincense                          15-10-2019
                                            95   EBV Elektronik Licence                                11-04-2013       3,779.48
Subtotal - 05300 - Software en Licenties                                                                              102,805.62
Total                                                                                                               1,727,152.19
              Important Note:
              1. The debtor funded the capital to all of its foreign subsidiaries to acquire and develop assets and conduct business operations.
              2. US GAAP treatment may not apply to foreign jurisdictions, the "values" may be incorrect from an accounting standard, however, they provide a objective measurement.
              3. The debtor paid monies to all of its foreign subsidiaries for which it was issued intercompany loans; therefore, some of the expenses and assets of foreign subsidiaries
              listed below may be partially "double counted" as the monies are reflected in those loans.
              4. However, the "know-how" developed through a variety of those operations are not identified as "assets" but they bring very real value to the debtor and positively
              impacts the debtor's overall valuation substantially. Please see the Windsor valuation report enclosed.
              5. Seecubic BV of the Netherlands is a subsidiary of Stream TV Networks, Inc the debtor - and is a different entity that Seecubic Inc of Delaware - a new company instituted
              by the lenders.




              The Complete asset list was prepared before company emails and the cloud storage system were disconnected by Seecubic Inc. Therefore, some of the information may be incomplete and/or outdated.




Stream TV
              Supplier /Contractor                      Description                                 Start Date
              Adeptchips                                Recruiter/Developer                         1/10/2019
              AFCO/Aon                                  D&O Insurance                               7/28/2019
              Alavarte                                  Recruiter/Developer                         8/28/2019
                                                        Software Provider/Now Settlement
              Arasan License Agreement                  Agreement                                   8/30/2019
              BOE                                       Supplier and CO Marketer                    8/2/2018
              Boustead Securities                       Investment Banker                           3/7/2020
              Cadence                                   Software Provider                           3/27/2019
              CNA                                       Insurance (Liability and Property Policy)   6/22/2019
              Dell                                      Equipment Lease                             12/5/2018
                                                        Proof of Concept of certain
              Deltatre                                  implementation testing                      9/5/2019
              Demartino                                 Employment Recruiter                        2/22/2019
              FTI Consulting                            Accounting Consultant for China             3/7/2018
              Game 7                                    Staffing Firm                               8/28/2019
              Gant/Concur                               Travel and Expense Reporting                1/28/2019
              Global Tax Management                     Tax Preparation and Filing                  2/27/2019
              HDMI                                      License to use HDMI                         4/20/2016
                                                        Small and Mass production Lines for
              Iinuma                                    bonding                                     5/12/2015
                                                        Various study and potential marketing
              IMG                                       services                                    3/1/2019
              Jeffrey Shammah                           Broker                                      3/19/2020
              Marcum                                    Auditors                                    2/4/2019
              MTL Investments                           Broker                                      4/17/2019
              Modular Mobile                            German Developer                            5/5/2018
              Pegatron Settlement                       Settlement for OEM/ODM                      9/16/2019
              Technical Link                            Staffing Firm                               9/16/2019
              Triple Crown                              Staffing Firm                               1/7/2019
              IQH3D                                     Customer + Comp. for investment             1/29/2020
              Zhong Lun Law Firm                        Law Firm                                    8/31/2019
              Dezan Shira                               Accounting Firm                             9/10/2019
              Dilworth Paxson                           Law Firm                                    1/28/2020
              Cittone, Demers & Arneri LLP              Law Firm                                    3/4/2020
              Ruffena                                   Investment Banker/Broker                    #########
              Triumph                                   Fund Raising Consultant                     2/17/2020
              Walmer and Island EL (Alstair/Tim Childs) Investment Broker                           #########
              Frewin and Close                          Investment Banker/Broker                    1/1/2018
              Wharton Capital                           Investment Banker/Broker                    5/30/2018
              Google Purchase Orders                    Purchase Order                              9/26/2019
              Amazon - Virginia Smith - Debenaire       Fundraising/Consultant                      11/8/2019
              Bradley Woods                             Placement Agent/Broker                      2/13/2020
              Knight-Davis                              Fundraising/Broker                          7/1/2013
              Frank Hodgson/AVI                         Advisory Agreement                          5/3/2020
              Geoval/Sam Epstien                        Consultant Broker                           2/1/2020
              YTH                                       Finder                                      7/4/2019
              Jinsheng                                  Finder                                      7/4/2019
              Lok Tin Wong                              Finder                                      7/23/2019



Seecubic BV
              Supplier                                   Explanation of Contracts
              Nuon (PF 1033, 1035)                       Electricity (PF1035 /1033)
              Mentor Graphics (Netherlands) BV           Mentor Graphics License
              Interconnect Service                       Internet service
              Bechtle direct B.V.                        Windows Professional License
              Delta Patents                              Patents
              Vistra                                     Vistra professional support
              Ernst & Young Accountants LLP              Accounting office ( Payroll/ Financial)
              Bechtle direct B.V.                        OVS Microsoft Year 3 License


Other entities
              Supplier /Contractor                       Description                                Start Date
              Phillips                                   Contract and Amendment                     ########
EXHIBIT 4 TO SOFA

   Question 7.5
                                     Summary of Arasan Case


        On March 16, 2020, Arasan Chip Systems, Inc. ("Arasan") filed a complaint against
Stream TV Networks, Inc. ("Stream TV") in United States District Court, Northern District of
California entitled Arasan Chip Systems, Inc. v. Stream TV Networks, Inc. (the "Legal Case").
Case No. 5:20-cv-01848-SVK. Stream TV was served with the complaint on March 18, 2020.
The parties desired to avoid the expense and uncertainty of litigation, and except for obligations
existing under a Settlement Agreement (described below), wished to resolve and settle all
matters between them arising out of the claims and matters alleged by Arasan in the Legal Case.

        The Settlement Agreement and Mutual Release (the "Settlement Agreement") was made
on the 29th day of April, 2020, by and between Arasan and Stream TV. The Settlement
Agreement was made as a payment schedule between the parties. The parties agreed that Stream
TV would pay a total amount of $175,000.00 to Arasan under the following payment schedule
(the "Payment Schedule"):
            A. $10,000.00 by no later than April 13, 2020;
            B. $20,000.00, with $5,000 paid and received on April 27, 2020 and $15,000 being
               transmitted on the mutual execution of the Settlement Agreement;
            C. $40,000.00 by no later than May 11, 2020;
            D. $50,000.00 by no later than May 25, 2020; and
            E. $55,000.00 by no later than June 8, 2020.

         Contemporaneously with Stream TV’s execution of the Settlement Agreement, Stream
TV executed a stipulation for entry of judgment (the " Judgment"). Arasan agreed not seek to
file or enforce the Judgment against Stream TV as long as Stream TV timely made all payments
required under the Payment Schedule. Upon any default in the Payment Schedule by Stream TV,
however, the full amount remaining plus interest owing from Stream TV to Arasan under the
Payment Schedule would be due plus attorney’s fees in the amount of $5,000 and costs of
$500.00, less payments accrued. Without prior notice to Stream TV, Arasan would be permitted
to file the stipulation for judgment for the sums that remained due and owing, obtain judgment
for such amounts and enforce the Judgment.

       Effective immediately upon execution of the Settlement Agreement, Arasan and Stream
TV released and discharged each other from and against all actions and claims arising out of the
claims alleged by Arasan in the Legal Case.

Stream TV made the following payments to Arasan totaling $48,500:

           A.   $10,000.00 on April 9, 2020;
           B.   $5,000 on April 27, 2020
           C.   $15,000 on May 2, 2020;
           D.   $10,000.00 on August 12, 2020; and
           E.   $8,500.00 on November 4, 2020.
